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                               Exhibit M
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                                                     Search Best Buy



                             Directory          TX       Tyler      5514 S Broadway Ave


                             STORE DETAILS                     GEEK SQUAD


                             Best Buy Tyler
                                    Open Now          Closes at 8:00 PM        4.0                       (3202 reviews)




                                    5514 S Broadway Ave
                                                                       (903) 509-0690
                                    Tyler, TX 75703


                                   Directions




                                   Store Hours                     Curbside Hours               Services Offered


                                         Open Now          Closes at 8:00 PM
                                                                                                      Geek Squad             Apple Shop
                                   Monday                    10:00 AM - 8:00 PM                       Services
                                   Tuesday                   10:00 AM - 8:00 PM
                                   Wednesday                 10:00 AM - 8:00 PM                       Windows Store          Samsung

                                   Thursday                  10:00 AM - 8:00 PM                                              Experience Shop
                                   Friday                    10:00 AM - 8:00 PM
                                   Saturday                  10:00 AM - 8:00 PM                       Samsung                Sony Experience

                                   Sunday                    11:00 AM - 7:00 PM                       Experience Only


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                                                                                                       LG Experience           Car & GPS
                                                                                                                               Installation
                                                                                                                               Services


                                                                                                       Apple                   Samsung Open
                                                                                                       Authorized              House
                                                                                                       Service Provider


                                                                                                       Trade-In                Hearing
                                                                                                                               Solutions Center




                             On This                       Shop    Specialty Shops & Services           Explore       FAQs     Reviews        About

                             Page:
                                                           Nearby Stores




                             Shop Best Buy Tyler




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                                   Computers &                          TV & Home
                                   Tablets                              Theater


                                                                                                                   Video Games




                                         Cell Phones                             Audio                              Appliances




                                                                        Cameras,
                                   Smart Home,                                                                 Wearable
                                                                        Camcorders &
                                   Security & Wi-Fi                                                            Technology
                                                                        Drones




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                                   Health, Fitness &                        Home, Furniture &                     Toys, Games &
                                   Beauty                                   Office                                Collectibles




                             Specialty Shops and Services




                                   Apple Shop                                                  Windows Store

                                   Visit our store-within-a store for all things               Get help from Microsoft experts and try out
                                   Apple: Mac, iPad, iPhone, Apple TV and                      a full range of Microsoft products and
                                   more.                                                       accessories.




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                                   Samsung Experience Only                                   Sony Experience

                                   See how Samsung's technology can                          Sony experts are ready to show you the
                                   redefine your home theater experience.                    latest TVs, sound bars and gaming
                                                                                             experiences from Sony.




                                   LG Experience                                             Apple Authorized Service
                                                                                             Provider
                                   Discover the incredible pictures, theater-
                                   quality sound and stunning video of the                   We have Agents who are certified in
                                   latest LG TVs.                                            servicing and repairing Apple devices.




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                                   Trade-In                                                  Hearing Solutions Center

                                   Most stores offer Trade-In on eligible items              Find the right hearing solutions with help
                                   including mobile phones, tablets, other                   from experts, plus learn more about using
                                   hardware, and video game software                         your products.
                                   purchased anywhere. Participating stores
                                   may have additional requirements.




                             More to Explore




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                                   Shop with an expert, right from                              Enjoy a safe, convenient shopping
                                   home.                                                        experience.

                                   Call, chat, video chat or in-home                            Home Experts can assist you with any
                                   consultation.                                                solution, from creating a home theater to
                                                                                                updating your Wi-Fi network or even
                                   Shop with an Expert                                          designing your dream kitchen. We're here
                                                                                                to help, anywhere you would like to shop.

                                                                                                Learn more.




                                   Save with open-box products at a                             Jobs that tech lovers love.
                                   store near you.                                              Apply for a seasonal job at Best Buy, where
                                                                                                you’ll surround yourself with a great team

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                                   Choose from a variety of open-box items,                 and get an amazing employee discount on
                                   all discounted to save you money. Check                  the tech you love.
                                   back often because our selection varies.
                                   But you can rest assured that open-box                   Apply Now
                                   products are always covered by our Return
                                   and Exchange Promise.

                                   Shop Open Box




                             Frequently Asked Questions About Best Buy Tyler

                             How do I check product availability at the Tyler Best Buy?


                             How do I check my order status?


                             My local Tyler Best Buy store and BestBuy.com ran out of the item I want. Is
                             there another way to get it?


                             I bought a gift that requires service/installation. When can I expect that to be
                             scheduled?


                             What are Best Buy Tyler stores’ holiday hours?



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                                                                            Recent Reviews

                                                                   4.0                           (3202 reviews)




                                   Lenetha C
                                   October 06, 2024                      5 out of 5


                                                                         The best staff always willing to assist you and very professional polite
                                                                         and kind




                                   Todd F
                                   October 01, 2024                      5 out of 5


                                                                         Employees are very well informed on today's technology.




                                   BB
                                   September 29, 2024                    1 out of 5


                                                                         Don't waste your time shop online.




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                                                                        Response from Best Buy
                                                                        September 29, 2024

                                                                        Hi there, B B, Thank you for reaching out to us here and for
                                                                        bringing this to our attention. I'd love to ensure that your
                                                                        attempts to receive assistance are addressed further. To do so,
                                                                        please feel free to reach out to us via any of our Social Media
                                                                        platforms. To assist in directing you to our team, I've provided a
                                                                        few links below to our accounts. Please also add the number
                                                                        below to your message, as it will allow us to track your Google
                                                                        Review. Google Review #: 64255932 Thank you, and we look
                                                                        forward to hearing from you. ^Duncan Links: Facebook
                                                                        (http://facebook.com/BestBuy), Twitter/X
                                                                        (http://twitter.com/BestBuySupport), or Instagram
                                                                        (http://instagram.com/bestbuy)




                                   Andrew l
                                   September 24, 2024               1 out of 5


                                                                    Rick was very rude. I was looking for a product and asked him for help
                                                                    finding it. He said he’s looking for products in his cue and didn’t help. I
                                                                    kept following him asking him for his name and he wouldn’t give it to
                                                                    me. I went to another employee for help and said his name was Rick (he
                                                                    was wearing a towel around his shoulders). So sad there is this kind of
                                                                    customer service. I ended up buying the product online and Carlos
                                                                    came to help me. After checking on the product another employee said
                                                                    that Rick put a delay on the product because he couldn’t find it. Allie
                                                                    and Carlos were awesome and I appreciated their help. Rick made this
                                                                    experience worse than it needed to be




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                                                                        Response from Best Buy
                                                                        September 24, 2024

                                                                        Hello, Andrew, Thanks for reaching out and providing your
                                                                        feedback. We would love to document your experience as we
                                                                        are always looking to improve, I you can, please connect with
                                                                        us through social media you can find us on Facebook
                                                                        (http://Facebook.com/BestBuy), Twitter/X
                                                                        (http://Twitter.com/BestBuySupport), or Instagram
                                                                        (http://Instagram.com/BestBuy). Please provide your full name,
                                                                        email address, and telephone number to complete the
                                                                        documentation process. Please also reference Google Review
                                                                        number 64238902. Looking forward to hearing from you!
                                                                        Thanks, ^Ezra




                                                                                            About Best Buy Tyler
                                                                                            At Best Buy Tyler, we specialize in helping
                                                                                            you find the best technology to enrich
                                                                                            your life. Together, we can transform your
                                                                                            living space with the latest smart
                                                                                            home technology, HDTVs, computers and
                                                                                            gaming consoles from your favorite
                                                                                            brands. We can walk you through updating
                                                                                            your appliances with cutting-edge
                                                                                            refrigerators, ovens, washers and dryers.

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                                                                                       And we can help you make the most of
                                                                                       your active lifestyle with our huge
                                                                                       selection of health and wellness gear.

                                                                                         You can also rely on the Best Buy Tyler
                                                                                         team to keep your devices running
                                                                                         smoothly with the full range of Geek
                                                                                         Squad® services , including installation,
                                                                                         delivery, set up, protection, repair and
                                                                                         support. To ensure you can get the
                                                                                         assistance you need, you can schedule a
                                                                                         service with Geek Squad® for a time and
                                                                                         date that fits your busy lifestyle. Or come
                                                                                         in and visit us at 5514 S Broadway Ave in
                                                                                         Tyler, TX, so we can help you find and
                                                                                         navigate the perfect new camera, cell
                                                                                         phone, TV , video games and more.

                                                                                         Can't make it to the Best Buy Tyler? Don't
                                                                                         worry — visit our virtual store where you
                                                                                         can live chat, voice call or video call with
                                                                                         product experts who can help you
                                                                                         compare items, check out, or even show
                                                                                         you a product demo. You can also
                                                                                         shop popular categories online or Discover
                                                                                         & Learn with our detailed Shopping
                                                                                         Guides, in-depth How-To guides and
                                                                                         helpful Tips and Ideas. Learn how to live
                                                                                         more sustainably, discover the latest must-
                                                                                         have electronics and explore what best fits

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                                                                                       your lifestyle, home, workspace and
                                                                                       everything in between.

                                                                                          bestbuy.com




                                  Visit our Support Center                                               Check your Order Status




                                  Shipping, Delivery & Store Pickup                                         Returns & Exchanges




                                  Price Match Guarantee




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                             Order & Purchases                           Support & Services                      Partnerships
                             Check Order Status                          Visit our Support Center                Affiliate Program

                             Shipping, Delivery & Pickup                 Shop with an Expert                     Advertise with Us

                             Returns & Exchanges                         Schedule a Service                      Developers

                             Price Match Guarantee                       Manage an Appointment                   Best Buy Health

                             Product Recalls                             Protection & Support Plans              Best Buy Education

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                             Lease to Own                                Member Offers                           Sustainability


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